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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

            FIRST SUPERSEDING INDICTMENT FOR CO^SPIRACY(¥0 '<
     DISTRIBUTE AND POSSESS WITH INTENT TO DISTRIBUTE CONTROLLED
     SUBSTANCES, POSSESSION WITH INTENT TO DISTMBUTE CONTROLLED
      SUBSTANCES, POSSESSION OF FIREARMS IN FURTHERANCE OF DRUG
            TRAFFICKING CRIMES, POSSESSION OF FIREARMS BY A
               CONVICTED FELON, AND NOTICE OF FORFEITURE


  UNITED STATES OF AMERICA                               CRIMINAL NO. 23-52-JWD-EWD

        versus                                           21U.S.C. §846
                                                         21 U.S.C. § 841(a)(l)
  ROBERT PENNYWELL,                                      21 U.S.C. § 841(b)(l)(A)(vi)
        a/k/a "Black Bo,"                                18U.S.C. §2
        a/k/a "Black Beezy,"                             18U.S.C. § 924(c)(l)(A)(i)
        a/k/a "Rob,"                                     18U.S.C. § 922(g)(l)
        a/k/a "Black Man,"                               21U.S.C. §853
  MOHAMMAD SHARIFI,                                       18U.S.C.   § 982(a)(l)
        a/k/a "Moe,"                                      18U.S.C.   § 924(d)(l)
  NICHOLAS CRITNEY,                                      28U.S.C. § 2461(c)
  JHON BROOKS,
        a/k/a "Poppadoc," and
  JASON JACKSON
        a/k/a "Squally"




 THE GRAND JURY CHARGES:

                                           COUNT ONE
                          (Conspiracy to Distribute and to Possess with the
                            Intent to Distribute Controlled Substances)


        1. Beginning on an exact date unknown to the Grand Jury, but no later than in or


 about 2021, and continuing until on or about June 14, 2023, in the Middle District of Louisiana


 and elsewhere,


                                     ROBERT PENNYWELL,
                                         a/k/a "Black Bo,"
                                        a/k/a "Black Beezy,"

USA Sealed Group
USM
USPO
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                                           a/li/a "Rob,"
                                       a/k/a "Black Man,"
                                   MOHAMMAD SHARIFI,
                                          a/k/a "Moe,"
                                    NICHOLAS CRITNEY,
                                      JHON BROOKS,
                                     a/k/a "Poppadoc," and
                                      JASON JACKSON,
                                         a/k/a "Squally,"


defendants herein, did conspire and agree with each other, and with others known and unknown


to the Grand Jury, to knowingly and intentionally distribute and to possess with the intent to


distribute a mixture and substance containing a detectable amount ofN-phenyl-N-[l-(2-


phenylethyl)-4-piperidinyl] propanamide ("fentanyl"), a Schedule II controlled substance, a


mixture and substance containing a detectable amount of heroin, a Schedule I controlled


substance, a mixture and substance containing a detectable amount of cocaine, a Schedule II


controlled substance, and a mixture and substance containing a detectable amount of


methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States


Code, Section 841(a)(l), and did aid and abet the commission of said conspiracy.


       2. It is further alleged that, with respect to ROBERT PENNYWELL, a/k/a "Black

Bo," a/k/a "Black Beezy," a/k/a "Rob," a/k/a "Black Man" ("PENNYWELL"), the amount


offentanyl involved in the conspiracy attributable to him as a result of his own conduct, and the


conduct of other conspirators reasonably foreseeable to him, is 400 grams or more of a mixture


and substance containing a detectable amount offentanyl.


       3. It is further alleged that, with respect to MOHAMMAD SHARIFI, a/k/a "Moe,"

("SHARIFI"), the amount offentanyl involved in the conspiracy attributable to him as a result


of his own conduct, and the conduct of other conspirators reasonably foreseeable to him, is 400


grams or more of a mixture and substance containing a detectable amount offentanyl.
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        4. It is further alleged that, with respect to NICHOLAS CMTNEY ("CRITNEY"),

the amount offentanyl involved in the conspiracy attributable to him as a result of his own


conduct, and the conduct of other conspirators reasonably foreseeable to him, is 400 grams or


more of a mixture and substance containing a detectable amount offentanyl.


A. OBJECT OF THE CONSPIRACY

       5. The object of the conspiracy was to buy, sell, possess, transport, distribute, and


profit from the sale offentanyl, heroin, cocaine, and methamphetamine in the Middle District of


Louisiana and elsewhere.


B. MANNER AND MEANS OF ACCOMPLISHING THE CONSPIRACY

       6. In order to accomplish the object of the conspiracy, the defendants used, and


caused others to use, the following manner and means, among others:


       7. PENNYWELL and CMTNEY conspired to obtain fentanyl and

methamphetamine from SHARIFI in California for further distribution to others in Baton


Rouge, Louisiana, and surrounding areas.


       8. SHARIFI arranged for the purchase and transportation offentanyl from


California to PENNYWELL and CRITNEY for further distribution to others in Baton Rouge

and surrounding areas.


       9. PENNYWELL and CRITNEY prepared, packaged, and "cut" fentanyl and


heroin for distribution to other dealers and users. "Cutting" is the act of combining pure


controlled substances with additives that may increase or decrease their potency and usually has


the effect of increasing the amount of controlled substances available for sale.
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        10. PENNYWELL and CRITNEY used residences and vehicles within the Middle

District of Louisiana to store, weigh, process, package, cut, and distribute fentanyl, heroin, and


cocaine.


        11. JHON BROOKS, a/k/a "Poppadoc" ("BROOKS"), used residences and


vehicles within the Middle District of Louisiana to store, weigh, process, package, cut, and


distribute cocaine.


        12. JASON JACKSON, a/k/a "Squally" ("JACKSON"), used vehicles within the

Middle District of Louisiana distribute cocaine on behalf of PENNYWELL.

        13. PENNYWELL, SHARIFI, CRITNEY, BROOKS, and JACKSON used

telephones to discuss, negotiate, and arrange for the purchase and sale of controlled substances,


and to facilitate the exchange of money related to the buying and selling of controlled


substances.


        14. PENNYWELL, CRITNEY, BROOKS, and JACKSON used public and private

places to arrange and complete narcotics-related transactions.


        15. PENNYWELL, SHARIFI, CRITNEY, and BROOKS took actions to evade

law enforcement and protect the drug trafficking conspiracy, including but not limited to,


communicating in code, meeting in secret, utilizing aliases during the distribution of controlled


substances, and hiding the controlled substances.


        16. During telephonic communications, the defendants spoke in code words or


intentionally vague terms to refer to drugs, drug transactions, drug prices and profits, drug


amounts, and the process of cutting drugs for later distribution. Examples include "fetty," which


means fentanyl; "windows," which means methamphetamine; "water;" which means


methamphetamine; "brick," which means a kilogram; "unit," "eight ball," and "ball," which
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mean one-eighth of an ounce of cocaine; and "seven," which means one-quarter of an ounce of


cocaine.


C. ACTS IN FURTHERANCE OF THE CONSPIRACY

        17. In furtherance of the conspiracy, and to effect and accomplish its object, the


defendants committed the following overt acts in the Middle District of Louisiana and elsewhere,


including, but not limited to, the following:


        18. Beginning in or about 2021, and continuing until in or about 2023, approximately


two to three times per month, PENNYWELL imported distributable quantities of heroin and

fentanyl from Houston, Texas, and Los Angeles, California, to Baton Rouge.


        19. On March 22, 2023, during a telephonic communication, PENNYWELL and


CRITNEY discussed drugs, possession of firearms, and an associate's arrest for possession of


drugs and a firearm that PENNYWELL had purchased earlier.


       20. On March 28, 2023, and March 31, 2023, during telephonic communications,


PENNYWELL and CMTNEY discussed their prices for various drug amounts and methods to

increase volume using cutting agents to have more product to sell.


       21. On April 3, 2023, during a telephonic communication, PENNYWELL and

CRITNEY discussed purchasing drugs from SHARIFI, the quality ofSHARIFI's drugs, and

the timing of payment to SHARIFI for the drugs.

       22. On April 3, 2023, during telephonic communications, C.W. arranged with


PENNYWELL to purchase "two units," a quarter ounce of cocaine. PENNYWELL then


delivered the cocaine to C.W. at his house in Baton Rouge.


       23. On April 5, 2023, during telephonic communications, C.W. arranged with


PENNYWELL to purchase "three units," three eighths of an ounce of cocaine. PENNYWELL
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then delivered the cocaine to C.W. at his house in Baton Rouge. C.W. left cash for


PENNYWELL as partial payment for the cocaine.


       24. On April 6, 2023, PENNYWELL received $800.00 from C.W. via Venmo, the


balance of what C.W. owed for the cocaine.


       25. On April 8, 2023, during a telephonic communication, PENNYWELL and


CRITNEY discussed drug prices and a potential new source of supply for the purchase of


fentanyl.


       26. On April 10, 2023, during telephonic communications, C.W. arranged with


PENNYWELL to purchase "three units," three eighths of an ounce of cocaine. PENNYWELL


then agreed to purchase a "seven" and an "eight ball" from BROOKS. PENNYWELL obtained


the cocaine from BROOKS and delivered it to C.W. at his house in Baton Rouge.


       27. On April 11, 2023, PENNYWELL received $1,075.00 from C.W. via Venmo for


the cocaine.


       28. On April 19, 2023, during telephonic communications, C.W. arranged with


PENNYWELL to purchase "four units," a half-ounce of cocaine. PENNYWELL then obtained


the cocaine from BROOKS and delivered it to C.W. at his house in Baton Rouge.


       29. On April 20,2023, PENNYWELL received $1,780.00 from C.W. via Venmo for


the cocaine.


       30. On April 19, 2023, during telephonic communications, PENNYWELL and


SHARIFI discussed SHAMFFs association with an individual who had access to fentanyl and

methamphetamine in the San Diego area for shipment to PENNYWELL in Baton Rouge, and


how PENNYWELL would pay for the fentanyl he was to receive from SHARIFI.
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       31. On April 20, 2023, PENNYWELL sent $4,000 via Venmo, for the purchase of

the fentanyl in California.


       32. On April 20,2023, during a telephonic communication, CMTNEY questioned


PENNYWELL as to when "the package" containing fentanyl from California would arrive


because he had customers ready to purchase from him.


       33. Between April 20, 2023, and April 24, 2023, during telephonic communications,


PENNYWELL and SHARIFI discussed the measures SHARIFI had taken to ship the fentanyl

to PENNYWELL and the whereabouts of the shipment, and SHARIFI reassured

PENNYWELL that the shipment would arrive shortly.

       34. On April 24,2023, during a telephonic communication, PENNYWELL and

SHARIFI again discussed the shipment offentanyl. SHARIFI expressed that he had

confidence in PENNYWELL's ability to make money for them, and they discussed the amount


of money SHAMFI had invested to obtain the fentanyl. PENNYWELL said he was worried

that the package had not arrived and that it had been seized or stolen.


       35. On April 24,2023, during a telephonic communication, PENNYWELL told J.J.,


who was looking for narcotics, that he was waiting to receive a "brick" that was supposed to


have arrived the previous night.


       36. On April 25, 2023, during telephonic communications, PENNYWELL again

expressed concern to SHARIFI and CMTNEY about the missing fentanyl shipment.


PENNYWELL and CRITNEY discussed how CRITNEY cut fentanyl before distributing it

and CMTNEY said he was worried that strong fentanyl could kill people.
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         37. On or about April 25, 2023, the package that SHARIFI had sent to

PENNYWELL arrived at a United Parcel Service facility in Baton Rouge. It was seized by law


enforcement and found to contain approximately one kilogram offentanyl.


         38. On April 28, 2023, during telephonic communications, PENNYWELL and

CRITNEY discussed the appropriate amount of cutting agent they should add to fentanyl and


that the fentanyl they were selling could be fatal if sold uncut or undiluted.


         39. On April 28, 2023, during telephonic communications, PENNYWELL and

CMTNEY discussed CRITNEY distributing cocaine to C.W. while PENNYWELL was out of

town.


         40. On April 28,2023, May 1, 2023, and May 16, 2023, during telephonic

communications, PENNYWELL and CRITNEY discussed the shipment of another package of


fentanyl from SHARIFI to Baton Rouge.


         41. On May 10, 2023, during telephonic communications, PENNYWELL arranged


for the purchase of three "balls" of cocaine from BROOKS for redistribution to C.W.


PENNYWELL recruited JACKSON to assist. JACKSON collected money from C.W. for the

purchase, bought the cocaine from BROOKS, and delivered the cocaine to C.W.


         42. On May 11, 2023, during a telephonic communication, PENNYWELL and

CMTNEY discussed the sale of heroin and fentanyl in the Baton Rouge area, the profits made


on those sales, and the prices to be charged for fentanyl and heroin.


         43. On May 17, 2023, during telephonic communications, PENNYWELL and


BROOKS arranged to meet for the sale of cocaine. BROOKS then sold PENNYWELL one-


quarter of an ounce of cocaine for redistribution to C.W.
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       44. On May 18, 2023, PENNYWELL possessed the following items related to the

distribution of controlled substances in the Middle District of Louisiana:

               a. Approximately 7.82 grams of a mixture and substance containing a
                       detectable amount ofmethamphetamine; and


               b. Powdered sugar and quinine, which are used as cutting agents.


       45. On May 18, 2023, CRITNEY possessed the following items related to the

distribution of controlled substances in the Middle District of Louisiana:

               a. Approximately 16.56 grams of a mixture and substance containing a
                      detectable amount offentanyl;


               b. A loaded Sig Sauer 9mm semi-automatic handgun, bearing serial
                       number 58A199578; and

               c. Two cellular telephones.


       46. On June 14, 2023, BROOKS possessed the following items related to the


distribution of controlled substances in the Middle District of Louisiana:

               a. Approximately 394 grams of a mixture and substance containing a
                       detectable amount of cocaine;


               b. Two digital scales and other narcotics paraphernalia;


               c. Baking soda, which is used as a cutting agent;


               d. A loaded Taurus .45 caliber pistol, bearing serial number NET66017;


               e. A loaded FNH USA 9mm pistol, bearing serial number GKSO 121794;

               f. A loaded Smith & Wesson .40 caliber pistol, bearing serial number
                       FWT9806;

               g. A loaded Smith & Wesson .38 Special revolver with an obliterated serial
                       number;


               h. A loaded Colt Python .357 caliber revolver, bearing serial number
                       T16983;
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                i. A loaded Glock, IVtodel 20, 10mm pistol, bearing serial number
                        BSPW166;

                j. Assorted firearms ammunition; and


                k. $25,040 in United States currency.


        All the above is a violation of Title 21, United States Code, Sections 846, 841(a)(l), and

841(b)(l)(A)(vi), and Title 18, United States Code, Section 2.

                                          COUNT TWO
                  (Possession with the Intent to Distribute Methamphetamine)


        47. The factual allegations contained in Paragraphs 7, 30, and 44 of this Indictment


are hereby re-alleged and incorporated by reference as if fully set out herein.


        48. On or about May 18, 2023, in the Middle District of Louisiana, ROBERT

PENNYWELL, a/k/a "Black Bo," a/k/a "Black Beezy," a/k/a "Rob," a/k/a "Black Man,"


defendant herein, did knowingly and intentionally possess with the intent to distribute a mixture


and substance containing a detectable amount of methamphetamine, a Schedule II controlled


substance.


        The above is a violation of Title 21, United States Code, Section 841(a)(l).

                                         COUNT THREE
                        (Possession with the Intent to Distribute Fentanyl)

        49. The factual allegations contained in Paragraphs 7-10, 13-15, 20, 21,25,32, 36,


38,39,40,42,and 45 of this Indictment are hereby re-alleged and incorporated by reference as if


fully set out herein.


        50. On or about May 18, 2023, in the Middle District of Louisiana, NICHOLAS

CMTNEY, defendant herein, did knowingly and intentionally possess with the intent to


distribute a mixture and substance containing a detectable amount offentanyl, a Schedule II


controlled substance.
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        The above is a violation of Title 21, United States Code, Section 841(a)(l).

                                             COUNT FOUR
                                        (Possession of a Firearm in
                             Furtherance of Drug Trafficking Crimes)


        51. The factual allegations contained in Paragraphs 7-10, 13-15, 19, 20,21,25,32,


36,38,39,40, 42, 45, 49, and 50 of this Indictment are hereby re-alleged and incorporated by


reference as if set out fully herein.


        52. On or about May 18, 2023, in the Middle District of Louisiana, NICHOLAS

CRITNEY, defendant herein, did knowingly possess a firearm, that is, a Sig Sauer 9mm semi-


automatic handgun, bearing serial number 58A199578, in furtherance of the drug trafficking


crimes charged in Counts One and Three of this Indictment, which are violations of Title 21,


United States Code, Sections 846 and 841(a)(l).

        The above is a violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                              COUNT FIVE
                        (Possession with the Intent to Distribute Cocaine)


        53. The factual allegations contained in Paragraphs 11-15, 26, 28, 41, 43, and 46 of


this Indictment are hereby re-alleged and incorporated by reference as if fully set out herein.


        54. On or about June 14, 2023, in the Middle District of Louisiana, IHON


BROOKS, a/k/a "Poppadoc," defendant herein, did luiowingly and intentionally possess with


the intent to distribute a mixture and substance containing a detectable amount of cocaine, a


Schedule II controlled substance.


        The above is a violation of Title 21, United States Code, Section 841(a)(l).
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                                             COUNT SIX
                                     (Possession of Firearms in
                             Furtherance of Drug Trafficking Crimes)


          55. The factual allegations contained in Paragraphs 11-15, 26, 28, 41, 43, 46, 53,and


54 of this Indictment are hereby re-alleged and incorporated by reference as if set out fully


herein.


          56. On or about June 14, 2023, in the Middle District of Louisiana, JHON


BROOKS, a/k/a "Poppadoc," defendant herein, did knowingly possess firearms, that is,


                 a. A Taums .45 caliber pistol, bearing serial number NET66017;


                 b. A FNH USA 9mm pistol, bearing serial number GKS0121794;

                 c. A Smith & Wesson .40 caliber pistol, bearing serial number FWT9806;


                 d. A Smith & Wesson .38 Special revolver with an obliterated serial number;


                 e. A Colt Python .357 caliber revolver, bearing serial number T16983;and


                 f. A Glock, Model 20, 10mm pistol, bearing serial number BSPW166;

in furtherance of the drug trafficking crimes charged in Counts One and Five of this Indictment,


which are violations of Title 21, United States Code, Sections 846 and 841(a)(l).

          The above is a violation of Title 18, United States Code, Section 924(c)(l)(A)(i).

                                          COUNT SEVEN
                          (Possession of Firearms by a Convicted Felon)


          57. The factual allegations contained in Paragraph 46 of this Indictment are hereby re-


alleged and incorporated by reference as if set out fully herein.


          58. On or about June 14, 2023, in the Middle District of Louisiana, JHON BROOKS,

a/k/a "Poppadoc," defendant herein, knowing he previously had been convicted of a crime


punishable by imprisonment for a term exceeding one year, a felony, did knowingly possess


firearms, that is,




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               a. A Taurus .45 caliber pistol, bearing serial number NET66017;


               b. A FNH USA 9mm pistol, bearing serial number GKSO 1 21794;

               c. A Smith & Wesson .40 caliber pistol, bearing serial number FWT9806;


               d. A Smith & Wesson .38 Special revolver with an obliterated serial number;


               e. A Colt Python .357 caliber revolver, bearing serial number T16983;and


               f. A Glock, Model 20, 10mm pistol, bearing serial number BSPW166;


said firearms having been shipped and transported in interstate and foreign commerce.


       The above is a violation of Title 18, United States Code, Section 922(g)(l).

                                  NOTICE OF FORFEITURE

        59. The allegations contained in Counts One through Seven of this Indictment are


hereby re-alleged and incorporated by reference for the purpose of alleging forfeiture.


       60. Upon conviction of an offense charged in Count One, Two, Three, and Five of


this Indictment,


                                    ROBERT PENNYWELL,
                                         a/k/a "Black Bo,"
                                       a/k/a "Black Beezy,"
                                            a/k/a "Rob,"
                                        a/k/a "Black Man,"
                                    MOHAMMAD SHARIFI,
                                            a/k/a "Moe,"
                                     NICHOLAS CMTNEY,
                                       JHON BROOKS,
                                      a/k/a "Poppadoc," and
                                       JASON JACKSON,
                                          a/k/a "Squally,"


defendants herein, shall forfeit to the United States, pursuant to Title 21, United States Code,


Section 853, any and all property constituting, or derived from, proceeds obtained, directly or


indirectly, as a result of the said violation, and any property used, or intended to be used, in any


manner or part, to commit,, or to facilitate the commission of, the violation.




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        61. If any of the property or proceeds obtained directly or indirectly as a result of the


offenses charged, due to any act or omission of the defendants:


                a. cannot be located upon the exercise of due diligence;


               b. has been transferred or sold to, or deposited with a third party;


                c. has been placed beyond the jurisdiction of the court;


                d. has been substantially diminished in value; or


               e. has been commingled with other property which cannot be divided


                       without difficulty,

the United States of America shall be entitled to a forfeiture money judgment and shall be


allowed to forfeit substitute property pursuant to Title 21, United States Code, Section 853(p), in

satisfaction of the forfeiture money judgment.


        62. Upon conviction of the offense charged in Count Four of this Indictment,


NICHOLAS CRITNEY, defendant herein, shall forfeit to the United States, pursuant to Title


18, United States Code, Section 924(d)(l), and Title 28, United States Code, Section 2461(c),

any firearm and ammunition involved in or used in said violation, including, but not limited to, a


Sig Sauer 9mm semi-automatic handgun, bearing serial number 58A199578.


       63. Upon conviction of an offense charged in Count Six or Count Seven of this


Indictment, JHON BROOKS, a/k/a "Poppadoc," defendant herein, shall forfeit to the United


States, pursuant to Title 18, United States Code, Section 924(d)(l), and Title 28, United States

Code, Section 246 l(c), any firearm and ammunition involved in or used in said violation,


including, but not limited to:

               a. A Taurus .45 caliber pistol, bearing serial number NET66017;


               b. A FNH USA 9mm pistol, bearing serial number GKSO 1 21794;




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          c. A Smith & Wesson .40 caliber pistol, bearing serial number FWT9806;


          d. A Smith & Wesson .38 Special revolver with an obliterated serial number;


          e. A Colt Python .357 caliber revolver, bearing serial number T16983;and


          f. A Glock, Model 20, 10mm pistol, bearing serial number BSPW166.


UNITED, STATES OF AMERICA, BY A TRUE BILL


                                                   REDACTED
                                                PER PRIVACY ACT
Rfc)NALDVC. GATHER.                            GRAND JURY FOREPERSON
UNITED STATES ATTORNEY
MIDDLE DISTRICT OF LOUISIANA




                                                     ^. ^0 , 10^
WILLIAM K. MORRIS                             DATE
ASSISTANT UNITED STATES ATTORNEY




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                                            Criminal Cover Sheet                                U.S. District Court

Place of Offense:                              Matter to be sealed:                 lYes               No

City: Baton Rouge, LA                          Related Case Information:

County/Parish: East Baton Rouge                Superseding x Docket Number 23-52-JWD-EWD
                                               Same Defendant x New Defendant
    investigating Agency:                      Ivlagistrate Case Number: 23-MJ-52
                                               Search Warrant Case No.:
    *Agent: Michael Landenwich                 R 20, R 40 from District of:
                                               Any Other Related Cases:
Defendant Information:

Defendant Name: ROBERT PENNYWELL
Alias: "Black Bo," "Black Beezy," "Rob," and "Black Man"

Address:

Birthdate:                        ss#:                  Sex:       Race:                       Nationality:


U.S. Attorney Information:


AUSA: William K. Morris                                           Bar #: LABN: 28694


Interpreter: ^ Yes [^JNo                       List language and/or dialect:


Location Status:

Arrest Date
     x          Already in Federal Custody as of
                Already in State Custody
                On Pretrial Release


U.S.C. Citations:


Total # of Counts: 2
                                                                                                              Petty/
  Code                   Description ofOffense Charged                                 Count(s) Misdemeanor/
                                                                                                   Felony

21:846, 841 (a)(1), Conspiracy to distribute and to possess with intent                    1

84i(b)(i)(A)(vi)and 18:2 to distribute controlled substances


21:841(a)(1)            Possession with the intent to distribute methamphetamine




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                                                                           /

Date:. lil^ln                   Signature of AUSA
                                                    ,7 ^'A
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                                            Criminal Cover Sheet                              U.S. District Court

Place of Offense:                              Matter to be sealed:            3Y es                 iNo

City: Baton Rouge, LA                          Related Case Information:

County/Parish: East Baton Rouge                Superseding x Docket Number 23-52-JWD-EWD
                                               Same Defendant x New Defendant
    * Investigating Agency:                    Magistrate Case Number: 23-MJ-52
                                               Search Warrant Case No.:
    *Agent: Michael Landenwich                 R 20, R 40 from District of:
                                               Any Other Related Cases:
Defendant Information:

Defendant Name: MOHAMMAD SHARIFI
Alias: "Moe"

Address:

Birthdate:                        ss#:                  Sex:       Race:                     Nationality:


U.S. Attorney Information:


AUSA: William K. Morris                                           Bar #: LABN: 28694


Interpreter:        Yes         iNo            List language and/or dialect:


Location Status:

Arrest Date
     x          Already in Federal Custody as of
                Already in State Custody
                On Pretrial Release


U.S.C. Citations:


Total # of Counts: ^
                                                                                                            Petty/
  Code                    Description ofOffense Charged                             Count(s) Misdemeanor/
                                                                                                Felon?

21:846, 841 (a)(1), Conspiracy to distribute and to possess with the intent              1

841(b)(1)(A)(vi) and 18:2 fd distribute controlled substances




„..: //^op                      Signature of AUSA:
                                                                                /; -n^..
              Case 3:23-cr-00052-JWD-EWD                 Document 76           11/30/23    Page 18 of 20

                                             Criminal Cover Sheet                           U.S. District Court

Place of Offense:                                Matter to be sealed:             / lYes           .No


City: Baton Rouge, LA                            Related Case Information:

County/Parish: East Baton Rouge                  Superseding x Docket Number 23-52-JWD-EWD
                                                 Same Defendant x New Defendant
    investigating Agency:                        Magistrate Case Number: 23-MJ-52
                                                 Search Warrant Case No.:
    *Agent: Michael Landenwich R 20, R 40 from District ofT
                                                 Any Other Related Cases:
Defendant Information:

Defendant Name: NICHOLAS CRITNEY
Alias:
Address:

Birthdate:                        ss#:                     Sex:       Race:                Nationality:


U.S. Attorney Information:


AUSA: William K. Morris                                              Bar #: LAB N: 28694


Interpreter: ^ Yes              No               List language and/or dialect:


Location Status:

Arrest Date
    x           Already in Federal Custody as of
                Already in State Custody
                On Pretrial Release


U.S.C. Citations:


Total # of Counts: 3
                                                                                                          Petty/
  Code                    Description ofOffense Charged                                 Count(s) Misdemeanor/
                                                                                                          Feloin

21:846, 841 (a)(1), Conspiracy to distribute and to possess with the intent 1

84i(b)(i)(A)(vi) and 18:2 to distribute controlled substances


21:841(a)(1)            Possession with the intent to distribute fentanyl

18:924(c)(1 )(A)(i) Possession of a firearm in furtherance of drug trafficking crimes




Date
              Case 3:23-cr-00052-JWD-EWD               Document 76            11/30/23       Page 19 of 20

                                            Criminal Cover Sheet                              U.S. District Court

Place of Offense:                              Matter to be sealed:             / \Yes               No

City: Baton Rouge, LA                          Related Case Information:

County/Parish: East Baton Rouge                Superseding x Docket Number 23-52-JWD-EWD
                                               Same Defendant              New Defendant x
    * Investigating Agency:                    Meigistrate Case Number: 23-MJ-52
                                               Search Warrant Case No.:
    *Agent: Michael Landenwich                 R 20, R 40 from District of:
                                               Any Other Related Cases:
Defendant Information:

Defendant Name: JHON BROOKS
Alias: "Poppdoc"

Address:

Birthdate:                        ss#:                  Sex:       Race:                     Nationality:


U.S. Attorney Information:


AUSA: William K. Morris                                           Bar #: LAB N: 28694


Interpreter:        Yes      ziNo              List language and/or dialect:


Location Status:

Arrest Date
                Already in Federal Custody as of
                Already in State Custody
                On Pretrial Release


U.S.C. Citations:


Total # of Counts: 4
                                                                                                            Petty/
  Code                     Description ofOffense Charged                             Count(s) Misdemeanor/
                                                                                                            Felorr

21:846, 841 (a)(1), Conspiracy to distribute and to possess with the intent              1

841 (b)(i)(A)(vi) and 18:2 to distribute controlled substances


21:841(a)(1)              Possession with the intent to distribute cocaine

18:924(c)(1)(A)(i) Possession of firearms in furtherance of drug trafficking crimes 6


18:922(g)(1)              Possession of firearms by a convicted felon                    7

                                                           7/f
                                                           y'

Date: I/ S^^ Signature of AVSA:///l/A /^/- -/^/^'l/
              Case 3:23-cr-00052-JWD-EWD               Document 76            11/30/23   Page 20 of 20

                                            Criminal Cover Sheet                          U.S. District Court

Place of Offense:                              Matter to be sealed:             / lYes           No

City: Baton Rouge, LA                          Related Case Information:

County/Parish: EaSt Baton Rouge                Superseding x Docket Number 23-52-JWD-EWD
                                               Same Defendant New Defendant x
    * Investigating Agency:                    Magistrate Case Number: 23-MJ-52
                                               Search Warrant Case No.:
    *Agent: Michael Landenwich                 R 20, R 40 from District of:
                                               Any Other Related Cases:
Defendant Information:

Defendant Name: JASON JACKSON
Alias: "Squally"

Address:

Birthdate:                        ss#:                  Sex:       Race:                 Nationality:


U.S. Attorney Information:


AUSA: William K. Morris                                           Bar #: LABN: 28694


Interpreter: | | Yes         / iNo             List language and/or dialect:


Location Status:

Arrest Date
                Already in Federal Custody as of
                Already in State Custody
                On Pretrial Release


U.S.C. Citations:


Total # of Counts: 1
                                                                                                        Petty/
 Code                    Description ofOffense Charged                               Count(s) Misdemeanor/
                                                                                                        Feloni

21:846, 841 (a)(1), Conspiracy to distribute and to possess with the intent 1


841(b)(1)(A)(vi) and 18:2 fd distribute controlled substances




Date: \ n^\ r y SignalureofAUSA:
